,~ Cas§ 4:18-cr-00239-A Document 32 Filed 10/11/18 Page 1 of 4 Page|D 86U '~j

¢"/ ) CLERK 05 SZS?§€§BT CG$}RT
' /~ ` f »» F<ESRYHER?$US'£ EF ¥X
1 k ) ~/ FGRT WGRTH BWIS§GN
gay IN THE UNITED STATES DISTRICT F'H.ED

CoURT FoR THE NoRTHERN DISTRICT
oF TEXAS FoRr WoRTH DIvIsIoN 2513 937 l l PH 2' 22

UNITED sTATES oF AMERICA °E‘°UTY C*»€RK

No. 4:18-CR-239-A

<
€OQOO'>OO'><AO'>OO'J

BoBBY CAMPBELL (01)

 

DEFENDANT BGBBY CAMPBELL’S MOTION FOR SEVERANCE OF
THE PARTIES AND BRIEF IN SUPPORT

 

Under Rules 12 and 14 of the Federal Rules of Criminal Procedure, Defendant Bobby
Campbell (“Mr. Campbell”) files this Motion for Severance of the Parties and Brief in Support

(“Motion”) and Would respectfully show the following:

I. Summary of Motion

To fulfill the paramount objective of receiving a fair trial, Mr. Campbell asks the Court
to sever his trial from that of his co-defendant, Sonia Cantu (“Cantu”). Cantu gave arresting
officers a post-arrest statement on or about July 11, 2018 that directly implicates Mr. Campbell
in the crimes charged Allowing the government to use Cantu’s extrajudicial confession at trial,
Where Cantu almost certainly Will not take the stand, Would violate Mr. Carnpbell’s
constitutionally guaranteed right of confrontation See Bruton v. Um`ted States, 391 U.S. 123
(1968). Becausc a joint trial of Cantu and Mr. Campbell Would deprive Mr. Campbell of a fair
trial and of his constitutional right to confront his accusers, Mr. Campbell respectfully requests

a separate trial.

Case 4:18-cr-OO239-A Document 32 Filed 10/11/18 Page 2 of 4 Page|D 87

II. Factual and Procedural Background
On September 19, 2018, Cantu and Mr. Campbell Were named in a one-count indictment
(“Indictment”) charging them With Conspiracy to Possess with Intent to Distribute a Controlled

Substance, in violation of 21 U.S.C. § 846 and §841(a)(1) and (b)(l)(B).

III. Argument and Authorities

Rule 14(a) of the Federal Rules of Criminal Procedure provides: “lf the joinder of
defendants in an indictment appears to prejudice a defendant ..., the court may sever the
defendants’ trials, ...” Fed. R. Crim. P. 14(a). Rule 14(b) provides that, before ruling on a
motion to sever, “the court may order an attorney for the government to deliver to the court for
in camera inspection any defendant’s statement that the government intends to use as cvidence.”
Fed. R. Crim. P. 14(b). Under Rule 14, the court “should grant a severance if there is a serious
risk that a joint trial Would compromise a specific trial right of a properly joined defendant or
prevent the jury from making a reliable judgment about guilt or innocence.” Zafzro v. United
States, 506 U.S. 534, 598 (1993). “The granting or denial of a Rule 14 severance is Within the
sound discretion of the trial court.” United States v. Scott, 659 F.2d 585, 589 (5th Cir. 1981).

Under Bruton, “[a] defendant’ s Sixth Amendment right to confrontation is violated When
(1) several co-defendants are tried jointly, (2) one defendant’s extrajudicial statement is used to
implicate another defendant in the crime, and (3) the confessor does not take the stand is thus
not subject to cross-examination.” Unz'ted States v. Restrepo, 994 F.2d 173, 186 (5th Cir. 1993).
All three elements are or could be met here: (1) Cantu and Mr. Campbell are currently set for a
joint trial; (2) the government Will almost certainly use Cantu’s recorded confession, in Which
Cantu’s implicates Mr. Campbell in the alleged crimes; and (3) Cantu, a convicted felon, Will

almost certainly not take the stand at trial and thus not be subject to necessary cross-examination

 

Case 4:18-cr-OO239-A Document 32 Filed 10/11/18 Page 3 of 4 Page|D 88

Under Gray v. Maryland, 523 U.S. 185 (1998) and its progeny, even a redacted version of
Cantu’s statement may not cure the Bruton problem. See, e.g. , United States v. Nutall, 180 F.3d
182, 188 (5th Cir. 1999) (under Gray, Bruton’s protective rule “applies to a non-testifying co-
defendant’s confession when the redacted confession replaces the defendant’s name with an
obvious deletion.”). Thus, unless the government stipulates that it will not seek to use Cantu’s
confession at trial for any reason, a Bruton problem looms and makes a severance appropriate

and prudent.l

IV. Conclusion and Prayer

Mr. Campbell acknowledges that “it is the rule, therefore, not the exception, that
‘persons indicted together should be tried together, especially in conspiracy cases.”’ United
States v. McRae, 702 F.3d 806, 821 (5th Cir. 2012) (quoting Unz'ted States v. Pofahl, 990 F.2d
1456, 1483 (5th Cir. 1993)). But even if trying Cantu and Mr. Campbell together would save
time and judicial resources, the paramount objective of the court is to provide a fair trial for the
litigants. This objective cannot be accomplished if Mr. Campbell is unfairly and unduly
prejudiced by evidence that would otherwise be inadmissible Therefore, Mr. Campbell
respectfully requests for a separate trial to avoid prejudice to Mr. Campbell from the continued

joinder and further requests such further relief to which he may be entitled.

 

1 Moreover, Cantu’s confession is not admissible as a coconspirator’s statement under Rule 801(d)(2)(E) because it
was made during a custodial interrogation after the alleged crimes were committed and the alleged conspiracy had
run its course. See, e.g., United States v. Alonzo, 991 F.2d 1422, 1425-26 (8th Cir. 1993) (post-arrest confessions or
statements incriminating others by one coconspirator are generally not made in furtherance of a conspiracy;
coconspirator’s in-custody identification of cocaine source was not admissible against other conspirators under Rule
801(d)(2)(E)). Nor would Cantu’s confession be admissible under the “against penal interest” exception to the
hearsay rule. See, e.g., Lilly v. Virgl`nia, 527 U.S. 116, 134 (1999) (plurality op.) (“accomplices’ confessions that
inculpate a criminal defendant are not within a firmly rooted exception to the hearsay rule as that concept has been
defined in our Confrontation Clause jurisprudence.”) (emphasis added). Thus, Cantu’s confession is not otherwise
admissible under United States v. Walker, 148 F.3d 518 (5th Cir. 1998), abrogated on other grounds by Texas v.
Cobb, 532 U.S. 162 (2001).

 

Case 4:18-cr-OO239-A Document 32 Filed 10/11/18 Page 4 of 4 Page|D 89

Respectfully Submitted,

/‘

BY: C ' /
vINCENT E.'stEL‘Y
TEXAS BAR NO. 24029904
5601 Bridge Street, Suitc 300
Fort Worth, Texas 76112
(214) 802-5516 Office
(817) 672-5899 Fax

Representing Defendant Bobby Campbell

CERTIFICATE OF CONFERENCE

l hereby certify that I, VINCENT WISELY, attorney for defendant, did confer with CHRIS
WOLFE, the Assistant United States Attorney assigned to this matter, and he is OPP ED to this

v'INCENT E. wlsELY
Representing Defendant Bobby Campbell

CERTIFICATE OF SERVICE
l VINCENT WISELY, hereby certify that on April ll, 2018, the foregoing motion was

filed in paper form with the U.S. District Clerk for the Northem District of Texas, with a copy
delivered to CHRIS WOLFE, the Assistant United States Attorney assigned to this case.

M/#;lt

 

VINCENT E. WISELY
Representing Defendant Bobby Campbell

 

